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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

STEVEN HOTZE, M.D., WENDELL
CHAMPION, HON. STEVE TOTH, and
SHARON HEMPHILL;

       Plaintiffs,                                  Case No.: 4:20-CV-03709

v.

CHRIS HOLLINS, in his official capacity as
Harris County Clerk;

       Defendant.


                                          ORDER

       UPON review of the “Motion of The Lincoln Project for Leave to File Amicus Brief in

Support of Defendant,” the Court orders the motion GRANTED / DENIED.



       SIGNED this the __________ day of November 2020.



                                             ______________________________

                                             United States District Court Judge




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